UNITED STATES COURT OF APPEALS F | L E D

FOR THE NINTH CIRCUIT FEB 15 2024

MOLLY C. DWYER, CLERK
U.S. COURT OF APPEALS

ODETTE R. BATIS, on behalf of herself and} No. 23-15260
all others similarly situated,
D.C. No. 3:22-cv-01924-MMC
Plaintiff-Appellee, Northern District of California,
San Francisco

V.
ORDER
DUN & BRADSTREET HOLDINGS, INC.,

Defendant-Appellant.

Before: SILER, CLIFTON, and M. SMITH, Circuit Judges.
The petition for panel rehearing or rehearing en banc (Docket Entry No. 42)
will be held in abeyance pending the resolution of en banc rehearing of Martinez v.

ZoomInfo Technologies, Inc., Case No. 22-35305.

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The Honorable Eugene E. Siler, United States Circuit Judge for the
U.S. Court of Appeals for the Sixth Circuit, sitting by designation.
